                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 CRYSTAL BROWN, et al., on Behalf of               )
 Themselves and a Class of Similarly Situated      )
 Persons,                                          )
                                                   )
                          Plaintiffs,              )   Case No. 17-cv-8085
                                                   )
 COOK COUNTY; AMY CAMPANELLI, in                   )   Judge Matthew Kennelly
 her capacity as Public Defender of Cook           )
 County; and THOMAS DART, in his official          )
 capacity as Sheriff of Cook County,               )
                                                   )
                         Defendants.               )


                              ORDER AND FINAL JUDGMENT

   Upon consideration and review of Plaintiffs’ Final Report on Settlement Administration and
Motion for Entry of Final Judgment, and for the reasons set forth in the Court’s Final Approval
Order (Doc. 282), it is hereby ORDERED:

   1) The Parties’ Proposed Settlement Agreement is Approved;
   2) The Claims Administrator’s and Class Counsel’s proposed allocation of the Settlement
       Fund is Approved;
   3) The Service Payments to the Class Representatives, Named Plaintiffs and Class Members
       as set forth in the Final Approval Order are Approved;
   4) The Award of Attorneys’ fees, costs and expenses as set forth in the Final Approval
       Order is Approved;
   5) Class members who did not timely exclude themselves are permanently enjoined from
       pursuing or seeking to reopen any Released Claims against any and all releasees in the
       Settlement Agreement;
   6) Cook County is directed to submit the Settlement for approval pursuant to Paragraph 24
       of the Settlement Agreement on or before November 2, 2020 in order to be heard and
       voted on by the Cook County Finance Committee Meeting scheduled for November 17,
       2020 and the Cook County Board of Commissioners Meeting scheduled for
       November 18, 2020;
   7) Class Counsel are directed to bring a Motion pursuant to Fed. R. Civ. P. 59 if the matter
       is not voted upon and/or approval is not granted at either the Cook County Finance
       Committee or Cook County Board of Commissioners meeting;
   8) Defendants will not oppose Plaintiffs’ Rule 59 Motion if the Settlement is not approved
       by November 18, 2020;
   9) The case is dismissed with prejudice; and,
   10) This Order is final and appealable.
DATED: November 2, 2020


                          _______________________________________
                          THE HONORABLE MATTHEW F. KENNELLY
                          United States District Judge
